Case 1:19-cv-22908-MGC Document 24 Entered on FLSD Docket 09/18/2019 Page 1 of 1

AFFIDAVIT OF SERVICE

 

 

 

 

 

Case: Court: County: Job:

Civil Action No, 1:19- United States District Court For The Miami-Dade, FL 3599827
cv-22908-MGC Southern District of Florida

Plaintiff / Petitioner: Defendant / Respondent:

Queens Hospitality Corp, A Florida Corporation Breakfast Bitch LLC, A California Limited Liability Company
Received by: For:

Jon Serve Associates DiSchino & Schamy

 

 

To be served upon:
Breakfast Bitch LLC, A California Limited Liability Company

 

 

 

|, DAVID LUCE, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address: Breakfast Bitch LLC, A California Limited Liability Company, 101 North Brand Ave 11th Floor, Glendale, CA

 

 

 

 

  

91203
Manner of Service: Served: Registered Agent, 9/12/2019 at 3:50 PM
Documents: Summons and Amended Complaint
Additional Comments:
1)
Fees: $
Subscribed and sworn to before me by the affiant who is
‘ personally known to me.
PA 9-16-19 SS
DAVID LUCE Date — :
Notary Public

David Luce Sr. iby c3 ee ee
pan Seree sanianioaiiaian Date Commission Expires
California Process Servers
10950 Arrow Route 661
Rancho Cucamonga, CA 91729
Process License #2014059259
County: Los Angeles
909-472-9107

é SHABBIR AZAM

if NOTARY PUBLIC -CALIFORNIA

> Los AXSELES CounTY

‘ My Comm, Exp, Ape. 24, 2020 t “9

 
